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                                             1     TAMARA BEATTY PETERSON, ESQ., Bar No. 5218
                                                   tpeterson@petersonbaker.com
                                             2     DAVID E. ASTUR, ESQ., Bar No. 15008
                                                   dastur@petersonbaker.com
                                             3     PETERSON BAKER, PLLC
                                                   701 S. 7th Street
                                             4     Las Vegas, NV 89101
                                                   Telephone: 702.786.1001
                                             5     Facsimile: 702.786.1002

                                             6     Attorneys for Defendants
                                                   JANONE INC and VIRLAND A. JOHNSON
                                             7

                                             8                                  UNITED STATES DISTRICT COURT

                                             9                                        DISTRICT OF NEVADA

                                             10    SECURITIES AND EXCHANGE                          Case No.: 2:21-cv-1433-JCM-VCF
                                                   COMMISSION,
                                             11                                                     MOTION FOR LEAVE TO VIRTUALLY
                                                                       Plaintiff,                   ATTEND THE OCTOBER 2, 2023
PETERSON BAKER, PLLC




                                             12                                                     HEARING
                       Las Vegas, NV 89101




                                                             vs.
                         701 S. 7th Street




                                             13
                           702.786.1001




                                                   LIVE VENTURES INCORPORATED;
                                             14    JANONE INC. (f/k/a Appliance
                                                   Recycling Centers of America, Inc.);
                                             15    JOHN ISAAC a/k/a JON ISAAC;
                                                   KINGSTON DIVERSIFIED HOLDINGS
                                             16    LLC; and VIRLAND A. JOHNSON,
                                             17                        Defendants.
                                             18          Counsel for Defendants JanOne Inc. and Virland A. Johnson ("JanOne Defendants") hereby

                                             19   move this Court for leave to allow Nicolas Morgan, Esq. ("Mr. Morgan"), of the law firm of Paul

                                             20   Hastings LLP1 , to virtually attend the October 2, 2023 hearing on the Motion to Withdraw as

                                             21   Counsel of Record [ECF No. 106] based upon the following:

                                             22          1.        Counsel for JanOne Inc and Virland Johnson filed their Motion to Withdraw as

                                             23   Counsel of Record [ECF No. 106] on August 18, 2023.

                                             24          2.        The Court has ordered an in-person hearing on the motion to withdraw as counsel

                                             25   of record and has scheduled the hearing for 11:00 a.m., October 2, 2023. See ECF No. 108.

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                                             27          1
                                                           Alyssa K. Tapper, Esq. ("Ms. Tapper") is an associate at Paul Hastings LLP ("Paul
                                                  Hastings") and admitted pro hac vice in this matter. Mr. Morgan is a partner with Paul Hastings
                                             28   and will be attending on behalf of the firm.
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                                             1             3.        Ms. Tapper was admitted pro hac vice on October 18, 2021. See ECF No. 56.

                                             2             4.        Ms. Tapper and Mr. Morgan's principal place of employment is located in Los

                                             3    Angeles, California.

                                             4             5.        Tamara Beatty Peterson, Esq. ("Ms. Peterson"), of the law firm of Peterson Baker,

                                             5    PLLC, is the resident attorney admitted to the bar of this court for Ms. Tapper.

                                             6             6.        Ms. Peterson will attend the October 2, 2023 hearing in-person pursuant to the Order

                                             7    [ECF No. 108].

                                             8             7.        Thomas A. Zaccaro, Esq. ("Mr. Zaccaro")2, of the law firm of Hueston Hennigan

                                             9    LLP, was admitted pro hac vice on October 18, 2021. See ECF No. 57.
                                             10            8.        Mr. Zaccaro will attend the October 2, 2023 hearing in-person pursuant to the Order
                                             11   [ECF No. 108].
PETERSON BAKER, PLLC




                                             12            9.        Due to the cost and time associated with travel, Mr. Morgan requests leave to
                       Las Vegas, NV 89101
                         701 S. 7th Street




                                             13   virtually attend the October 2, 2023 hearing.
                           702.786.1001




                                             14            For these reasons, Counsel respectfully requests that the Court grant this Motion, and enter
                                             15   an Order permitting Mr. Morgan to virtually attend the October 2, 2023 hearing.
                                             16            Dated this 22nd day of September, 2023.
                                             17
                                                                                      PETERSON BAKER, PLLC
                                             18

                                             19                                 By: /s/ David E. Astur_____________________________
                                                                                   TAMARA BEATTY PETERSON, ESQ., Bar No. 5218
                                             20                                    tpeterson@petersonbaker.com
                                                                                   DAVID E. ASTUR, ESQ., Bar No. 15008
                                             21                                    dastur@petersonbaker.com
                                                                                   PETERSON BAKER, PLLC
                                             22                                    701 S. 7th Street
                                                                                   Las Vegas, NV 89101
                                             23                                    Telephone: 702.786.1001
                                                   IT IS SO ORDERED.
                                                                                   Facsimile: 702.786.1002
                                             24                                    Attorneys for Defendants
                                                   ______________________________  JANONE INC and VIRLAND A. JOHNSON
                                             25    Cam Ferenbach
                                                   United States Magistrate Judge
                                             26
                                                            9-25-2023
                                                   DATED ________________________
                                             27
                                                           2
                                                           Mr. Zaccaro was formally with the law firm of Paul Hastings LLP and is now with the law
                                             28   firm of Hueston Hennigan LLP ("Heuston Hennigan").
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                                             1                                   CERTIFICATE OF SERVICE

                                             2           Pursuant to Fed.R.Civ.P.5(b), and Section IV of District of Nevada Electronic Filing

                                             3    Procedures, I certify that I am an employee of Peterson Baker, PLLC, and that a true and correct

                                             4    copy of the MOTION FOR LEAVE TO VIRTUALLY ATTEND THE OCTOBER 2, 2023

                                             5    HEARING was served via electronic service, via CM/ECF, on this 22nd day of September, 2023,

                                             6    and to the following:

                                             7     GARY Y. LEUNG, JR., ESQ.                       MARK E. FERRARIO, ESQ.
                                                   leungg@sec.gov                                 ferrariom@gtlaw.com
                                             8     LYNN M. DEAN, ESQ.                             CHRISTOPHER R. MILTENBERGER, ESQ.
                                                   deanl@sec.gov                                  miltenbergerc@gtlaw.com
                                             9     ROBERT STILLWELL, ESQ.                         GLENN F. MEIER, ESQ.
                                                   stillwellr@sec.gov                             meierg@gtlaw.com
                                             10    JENNIFER CHUN BARRY, ESQ.                      GREENBERG TRAURIG, LLP
                                                   barryj@sec.gov                                 10845 Griffith Peak Drive, Suite 600
                                             11    DANIEL WADLEY, ESQ.                            Las Vegas, NV 89135
PETERSON BAKER, PLLC




                                                   wadleyd@sec.gov                                Attorneys for Defendants Live Ventures
                                             12    RUTH C. PINKEL, ESQ.                           Incorporated and John Isaac
                       Las Vegas, NV 89101




                                                   pinkelr@sec.gov
                         701 S. 7th Street




                                             13
                           702.786.1001




                                                   SECURITIES AND EXCHANGE
                                                   COMMISSION
                                             14    444 S. Flower Street, Suite 900
                                                   Los Angeles, California 90071
                                             15    Attorneys for Plaintiff
                                             16    SEAN T. PROSSER, ESQ.                          DENNIS L. KENNEDY, ESQ.
                                                   STProsser@mintz.com                            DKennedy@BaileyKennedy.com
                                             17    MINTZ, LEVIN, COHN, FERRIS,                    REBECCA L. CROOKER, ESQ.
                                                   GLOVSKY AND POPEO, P.C.                        RCrooker@BaileyKennedy.com
                                             18    3580 Carmel Mountain Road, Ste. 300            BAILEY KENNEDY
                                                   San Diego, California 92130                    8984 Spanish Ridge Avenue
                                             19    Attorneys for Defendant Kingston Diversified   Las Vegas, Nevada 89148-1302
                                                   Holdings LLC                                   Attorneys for Defendant Kingston Diversified
                                             20                                                   Holdings LLC
                                             21

                                             22
                                                                                           /s/ Erin Parcells
                                             23
                                                                                           Employee of Peterson Baker, PLLC
                                             24

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